   Case: 1:19-cv-03611 Document #: 30 Filed: 07/22/19 Page 1 of 3 PageID #:3210




                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MERCIS B.V.,

        Plaintiff,                                       Case No.: 1:19-cv-03611

   v.                                                    Judge Manish S. Shah

THE PARTNERSHIPS AND UNINCORPORATED                      Magistrate Judge Jeffrey Cummings
ASSOCIATIONS IDENTIFIED ON SCHEDULE
“A”,

        Defendants.

                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

               NO.                                  DEFENDANT
               308                               Survival or extinction
               227                                   Hello_World
               182                                   angkefashion
                51                                 Lazy Coffee Time
                33                                   the-best-2019
               169                                     noka8117
                38                                 Children's Toy Store
                39                            Your Little Baby parden Store
               373                             Kissing Baby & Toy Store
                97                     cixi luojie Electronic commerce co., LTD
                99                                 GoodtimeYWQstore
               274                                    NEWDV
               326                                  yingli-fashion
               210                                    fashion33
               251                             Love shopping every day
                67                                     zwyouth50
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            65                               EternalEnvy
           324                               xumanman
           247                                 Lighting
           202                                 didiao44
           155                           chinasimplelight2014


DATED: July 21, 2019                        Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
                                            Keith Vogt, Ltd.
                                            1033 South Blvd., Suite 200
                                            Oak Park, Illinois 60302
                                            Telephone: 708-203-4787
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
    Case: 1:19-cv-03611 Document #: 30 Filed: 07/22/19 Page 3 of 3 PageID #:3210




                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on July 21, 2019 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
